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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION
CASE NO. 17-CV-23749

MSP RECOVERY CLAIMS, SERIES LLC,
a Delaware entity,
Plaintiff,

V. CLASS ACTION

ACE AMERICAN INSURANCE COMPANY,
a foreign profit corporation,
Defendant
/

 

ORDER GRANTING MOTION TO DISMISS WITH PREJUDICE

THIS MATTER came before the Court for hearing on Defendant’s Motion to Dismiss
Plaintiff's Third Amended Complaint [DE 38]. In the Third Amended Complaint [DE 36],
pursuant to the Medicare Secondary Payer Act (MSPA), 42 U.S.C. § 1395y, Plaintiff alleges it is
entitled to reimbursement from Defendant for payments made on behalf of Medicare
beneficiaries. Defendant seeks to dismiss the complaint for lack of standing and for failing to
state a claim pursuant to Federal Rule of Civil Procedure 12(b)(6). Plaintiff filed a response [DE
39] and Defendant filed a reply [DE 40].

Standing is a threshold question that the Court must address to ensure it has subject-
matter jurisdiction over the claim. While the Third Amended Complaint pleads additional facts
compared to the original complaint, the allegations still fail to establish Plaintiff has standing as
recognized under the MSPA. Therefore, because Plaintiff fails to allege standing to sue and the
Court has already provided Plaintiff with four opportunities! to cure its defective complaint, the

Motion to Dismiss is granted with prejudice.

 

” After a motion to dismiss was filed in response to Plaintiff’s original Complaint [DE 1], Plaintiff filed its First
Amended Complaint [DE 12]. Pursuant to the Court’s Order to plead facts rather than a formulaic recitation of the
elements [DE 26], Plaintiff submitted a Second Amended Complaint (SAC) [DE 28]. Pursuant to another Order

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I. RELEVANT BACKGROUND

Plaintiff is an entity whose business model involves obtaining assignments from various
entities, including Medicare Advantage Organizations, first-tier entities and downstream entities,
to recover reimbursement for payments made for the medical expenses of Medicare beneficiaries
that should have been made by a private insurer pursuant to the Medicare Secondary Payer Act
(MSPA), 42 U.S.C. § 1395y(B)(3)(A). [DE 36 7 1, 3]. Plaintiff filed this class action as the
assignee of three representative entities—Hygea Holdings Corp., MMM Holdings, LLC, and
Health Care Advisor Services—to seek reimbursement from Defendant pursuant to the MSPA.
[DE 36 J 5, 6]. Because Plaintiff stands in the shoes of its original assignors, the Court must
consider whether the original assignors have standing. Because this claim is brought under the
private cause of action in the MSPA, § 1395y(B)(3)(A), the Court must consider the statutory
framework of the MSPA in its analysis.

A. The Medicare Secondary Payer Act (MSPA)

In 1965, Congress enacted the Medicare Act to establish a federally subsidized health
insurance program for the elderly and disabled. [DE 36 ] 64]. At the time, Medicare provided
payment for medical expenses even when Medicare beneficiaries were also enrolled in third-
party insurance policies that covered those same costs. See MSP Recovery, LLC y. Allstate Ins.
Co., 835 F.3d 1351 (11th Cir. 2016).

In an effort to reduce costs, Congress passed the MSPA in 1980. The MSPA provides
that Medicare will be the secondary payer, rather than the primary payer, for medical services
provided to its beneficiaries when they are also covered for the same services by a private

insurer. 42 U.S.C. § 1395y. Under the MSPA, the private insurer becomes the primary payer, as

 

regarding the deficiencies in the SAC [DE 35], Plaintiff submitted its Third Amended Complaint on January 19,
2018,
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defined by the terms in the statute,” for medical services. However, Medicare may make
conditional payments when a primary payer cannot be expected to make a payment for a service
promptly. Jd. Once notified of its responsibility for a payment, a primary payer must reimburse
Medicare for any payment made within 60 days. Jd. In an effort to enforce this scheme, the
MSPA created a private cause of action for double damages when a primary plan fails to provide
for primary payment. See § 1395y(B)(3)(A).
B. Medicare Advantage Organizations, First-Tier Entities and Downstream
Entities

In 1997, Congress created the Medicare Part C option to allow Medicare beneficiaries the
option of receiving Medicare benefits through private insurers known as Medicare Advantage
Organizations (MAOs). See 42 U.S.C. §§ 1395w-21-w-23. To become an MAO, an insurer
must meet certain requirements set by Medicare. See § 1395w-21. Medicare strictly construes
and regulates MAOs to ensure equivalence in all respects with the traditional Medicare
program.’ See § 1395w-23(c). MAOs contract directly with Medicare to administer benefits for
a Medicare beneficiary. Humana Medical Plan Inc., v. Western Heritage Ins. Co., 832 F.3d
1229, 1235 (11th Cir. 2016). |

An MAO may then subcontract directly with third-party providers, known as first-tier
entities and downstream entities, to provide health care or administrative services to the
Medicare beneficiaries in the MAO’s plan. See 42 C.F.R. § 422.2. First-tier entities and
downstream entities include Management Service Organizations (MSOs) and Independent
Physician Associations (IPAs). [DE 36 § 95]. The MAO pays providers by either: (1) entering

into a written contract as described above where the MAO agrees to pay certain rates for certain

 

> Primary payers are generally defined as a group health plan, a workmen’s compensation plan, an automobile or
liability insurance plan, or no-fault insurance plan. See § 1395y(B)(2)(A).
3 An MAO has to abide by coverage determinations provided by Medicare and all disputes go through the traditional
Medicare process. [DE 36 § 73]. MAOs receive a fixed fee per beneficiary directly from Medicare to provide
services to each Medicare beneficiary. [DE 36 J 72].

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categories of treatments, or (2) reimbursing a provider that is outside the MAO’s network of
contracted providers for providing treatment to the beneficiary. Tenet Healthsystem GB, Inc. v.
Care Improvement Plus South Central Ins. Co., 875 F.3d 584, 586 (11th Cir. 2017). These first-
tier entities and downstream entities “bear the full risk of loss pursuant to their contractual
obligations with MAOs.” [DE 36 § 94]. Regardless of any relationship an MAO may have with
a first-tier entity or downstream entity, the MAO maintains the ultimate responsibility for fully
complying with all terms and conditions of its contract with Medicare. See 42 C.F.R. § 422.504.
C. Relevant Allegations of the Third Amended Complaint

Plaintiff as assignee of three representative entities—Hygea, MMM Holdings, and Health
Care Advisor Services—alleges Defendant, a private liability insurer, is a primary payer* which
failed to perform its statutory obligation to reimburse Plaintiffs assignors for medical expense
payments made on behalf of Medicare beneficiaries. See § 1395y(2); [DE 36 4 5, 6]. The
relevant facts that are alleged in Plaintiffs three representative claims are:

1. R.C. and Hygea Holdings Corp. (““Hygea”): R.C. was enrolled in a Medicare
Advantage plan managed by Hygea. [DE 36 { 32]. R.C.’s medical expenses were
“subsequently paid” by Hygea. Jd. Hygea was “charged” $1,227.48. [DE 36 { 36].
Two assignments were subsequently made: (1) Hygea assigned its rights to recover
conditional payments to MSP Recovery, LLC on September 15, 2015; and later (2)
MSP Recovery, LLC assigned the rights acquired from Hygea to Series 15-08-19,
LLC on June 12, 2017. [DE 36 7 59, 60].

2. D.G. and MMM Holdings, LLC (“MMM Holdings”): D.G. was enrolled in a
Medicare Advantage plan managed by MMM Holdings. [DE 36 { 25]. D.G.’s

medical expenses were “subsequently paid” by MMM Holdings. Jd) MMM

 

* Plaintiff alleges Defendant is a primary payer by virtue of settlements it entered into with Medicare beneficiaries,
as well as contractual obligations under its insurance policies to provide coverage to its insureds. [DE 36 { 4, 5].
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Holdings was “charged” $1,892.84. [DE 36 § 29]. Two assignments were
subsequently made: (1) MMM Holdings assigned its rights to recover conditional
payments to MSP Recovery, LLC on June 12, 2017; and later (2) MSP Recovery,
LLC further assigned the rights acquired from MMM Holdings to Series 17-02-554,
LLC on June 12, 2017. [DE 36 § 56, 57].

3. EF.¢ “EF.”) and Health Care Advisor Services: E.F. was enrolled in a Medicare

 

Advantage plan managed by Health Care Advisor Services. [DE 36 917]. E.F.’s
medical expenses were “subsequently charged” to Health Care Advisor Services in
the amount of $29,883.14. [DE 36 § 17, 22.] Two assignments were subsequently
made: (1) Health Care Advisor Services assigned its rights to recover its conditional
payments to MSP Recovery, LLC, a different entity than the Plaintiff, on August 28,
2015; and later (2) MSP Recovery, LLC further assigned the rights acquired from
Health Care Advisor Services to Series 15-08-27 LLC on June 12, 2017.° [DE 36 §
53, 54].

Plaintiff does not specifically allege if its original assignors are either MAOs or non-
MAOs, or first-tier entities or downstream entities in the Third Amended Complaint. The three
assignment agreements contain identical broad language describing the assignors as entities that
“operate a Health Maintenance Organization, MSO, IPA, Medical Center, and/or is a Physician
and/or otherwise ... provides or arranges for the provision of care, services, and/or supplies
including medications, treatments or other procedures to persons covered under [Medicare] and
other third party.” [DE 36-7; 36-9; 36-11]. In response to the present motion to dismiss,
Plaintiff first asserts Hygea and Health Care Advisor Services are MSOs and MMM Holdings is

an MAO [DE 39 at 6].

 

° Defendant challenges the legitimacy of the assignments. The Court will not reach that issue, and for the purposes
of this motion accepts and refers to the Plaintiffs alleged assignors as the “Plaintiff's assignors.”
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For each representative claim, Plaintiff contends its assignors conditionally paid for
medical services that Defendant should have paid as a primary payer under the MSPA. Plaintiff
seeks double damages under § 1395y(B)(3)(A) because of Defendant’s alleged failure to
properly reimburse Plaintiff's assignors. Plaintiff also seeks reimbursement for the amount
“billed”® to the assignors and class members for medical treatment provided to the Medicare
beneficiaries during the time period which Defendant was a primary payer. [DE 36 § 14].

IL. STANDARD OF REVIEW

Standing is a threshold question that must be addressed prior to, and independent of, the
merits of a party’s claim because it addresses the Court’s jurisdiction to adjudicate the claim.
DiMaio v. Democratic Nat'l Comm., 520 F.3d 1299, 1301 (11th Cir. 2008). The party invoking
federal jurisdiction bears the burden of establishing standing. Lujan v. Defs. of Wildlife, 504
U.S. 555, 561 (1992). To establish standing, the plaintiff has the burden to show: (1) that it
suffered an injury-in-fact that is (a) concrete and particularized, and (b) actual or imminent; (2) a

- causal connection between the injury and the conduct complained of (and not the result of the
independent action of some third party not before the court); and (3) that it is likely, not merely
speculative, that the injury will be redressed by a favorable decision. Jd. at 560 (citations
omitted). Plaintiff must support each element of standing in the same way as any other matter on
which the plaintiff bears the burden of proof, with the manner and degree of evidence required at
the successive stages of litigation. See id.

Standing requires a careful judicial examination of a complaint’s allegations to ascertain
whether the particular plaintiff is entitled to an adjudication of the particular claims asserted.
DiMaio, 520 F.3d at 1301. A plaintiff lacks standing if the complaint merely sets forth facts

from which courts could imagine an injury. /d. (citations omitted). The Court should not

 

° Defendant contends the Complaint should set forth the amount that was paid, not billed.
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speculate concerning the existence of standing; if the plaintiff fails to meet his burden, the Court
cannot create jurisdiction by embellishing a deficient allegation of injury. /d. (citations
omitted).

In evaluating a standing challenge, the Court must first determine if a factual or facial
challenge has been raised. Lawrence v. Dunbar, 919 F.2d 1525, 1529 (11th Cir. 1990). A facial
attack requires the court to determine if the plaintiff has sufficiently alleged a factual basis of
subject matter jurisdiction, and the allegations in the complaint are taken as true for the purposes
of the motion. See McElmurray v. Consol. Gov't of August-Richmond Cnty., 501 F.3d 1244,
1251 (11th Cir. 2017) (citations omitted). A factual attack, on the other hand, challenges the
existence of jurisdiction irrespective of the pleadings, and matters outside of the pleadings such
as testimony and affidavits are considered. Jd. (citations omitted).

Here, the Court will address each representative claim separately either as a factual or
facial attack based on the motion to dismiss. Generally, Defendant facially attacks the Third
Amended Complaint, arguing a dearth of facts as to each representative claim, including: the
name of the MAO; the name of the medical provider; and the relationship between the assignor,
the beneficiary, and the provider. [DE 38 at 3-5]. Defendant also makes a factual attack that the
assignors are non-MAOs. [DE 38 at 6]. Plaintiff concedes that two assignors are non-MAOs,
but asserts that assignor MMM Holdings is an MAO. [DE 39]. Defendant maintains that MMM
Holdings is anon-MAO. [DE 40 at 5]. Therefore, the Court’s analysis of the claim involving
D.G. and MMM Holdings will be on the basis of a factual attack. For the claims involving R.C.
and Hygea, and E.F. and Health Care Advisor Services, the Court will proceed on the basis of a

facial attack.

 

 
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TI.. ANALYSIS

Because the Plaintiff asserts standing pursuant to the private cause of action in the
MSPA, the Court must first determine who can bring a claim under § 1395y(B)(3)(A). The

- language creating the private cause of action states:

There is established a private cause of action for damages (which shall be in an

amount double the amount otherwise provided) in the case of a primary plan

which fails to provide for primary payment (or appropriate reimbursement) in

accordance with paragraphs (1) and (2)(A).
42 U.S.C. § 1395y(B)(3)(A). The Plaintiffs theory is that § 1395y(B)(3)(A) allows for any
private party to bring a claim. [DE 36 § 86]. Because the statute is silent regarding who may
file a claim, courts have interpreted the meaning of “private cause of action” to identify who may
assert a claim. The Eleventh Circuit has determined that § 1395y(B)(3)(A) is not a qui tam
statute that authorizes any private person to sue on behalf of the government. See MSP Recovery
LLC, v. Allstate Ins. Co., 835 F.3d 1351, 1363 at n.3 (11th Cir. 2016) (citations omitted). Rather,
§ 1395y(B)(3)(A) allows a private party to sue only where that party itself has suffered an injury
under the statute. Jd. Therefore, the Court must first consider which persons and entities meet
this standard and can bring a claim under § 1395y(B)(3)(A).

Courts have held that Medicare beneficiaries may bring claims under § 1395y(B)(3)(A).
See Stalley v. Orlando Regional Healthcare System, 524 F.3d 1229, 1234 (11th Cir. 2008);
Glover v. Liggett Group, Inc., 459 F.3d 1304 (11th Cir. 2006). While not directly examining
standing,’ Glover involved two Medicare beneficiaries who sought reimbursement from a
cigarette manufacturer for health care services attributable to smoking. See Glover, 459 F.3d at
1305. In dicta, the court noted that the MSPA created a private right of action to “encourage

_ private parties” who are aware of non-payment by primary plans to bring actions to enforce

Medicare’s rights. See id. Here, relying on Glover, Plaintiff argues that its assignors, which are

 

’ The issue in Glover was whether the individuals could sue the manufacturer without first establishing liability.
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not Medicare beneficiaries, are encompassed under the term “private parties” and thus may bring}
a claim.® [DE 39 at 7]. However, because Glover was not directly dealing with standing and the
plaintiffs there were Medicare beneficiaries, the Court can at most read Glover as allowing
Medicare beneficiaries to bring a claim under § 1395y(B)(3)(A).”

Additionally, healthcare providers that initially treated the Medicare beneficiary have
been found by the Sixth Circuit Court of Appeals to have standing under § 1395y(B)(3)(A). See
Mich. Spine & Brain Surgeons, PLLC vy. State Farm Mut. Auto. Ins. Co., 758 F. 3d 787, 790 (6th
Cir. 2014). The plaintiff in Michigan Spine was an independent health provider that treated the
Medicare beneficiary directly, was paid a reduced amount by Medicare, and filed a lawsuit
against the beneficiary’s insurer seeking damages under the MSPA. See id. While standing was
not directly at issue in the case,'° the Court can at most read Michigan Spine as allowing a
healthcare provider that initially treated the Medicare beneficiary to bring a claim under §
1395y(B)(3)(A). |

Finally, MAOs may have standing under § 1395y(B)(3)(A). ‘See Humana Medical Plan,
Inc., v. Western Heritage Ins. Co., 832 F.3d 1229 (11th Cir. 2016). In Humana, the court held
that MAOs have standing under § 1395y(B)(3)(A) because other areas in the MSPA appeared to
treat MAOs similarly as Medicare. Humana, 832 F.3d at 1233. In dicta, the Humana court
referenced Michigan Spine to support the proposition that direct health care providers who have

not been paid by a primary plan have standing to bring a claim. Jd. at 1235 (citations omitted).

 

’ Plaintiff similarly relies on O’Connor v. Mayor and City Council of Baltimore, 494 F. Supp. 2d 372 (D. Md. 2007)
to illustrate its assignors have standing. As in Glover, the plaintiff in O’Connor was a Medicare beneficiary. Here,
Plaintiff? s assignors are not Medicare beneficiaries.

* In Stalley v. Catholic Health Initiatives, 509 F.3d 517, 526 (8th Cir. 2007), the court found the congressional intent
behind the private cause of action was to provide Medicare beneficiaries standing to sue their primary insurers for
expenses Medicare had already paid and to allow beneficiaries to vindicate their own contractual or tort interests.
The court also noted that beneficiaries suffer an injury because a conditional payment made by Medicare leaves the
beneficiary with a less than final settlement of their liability to the provider. Jd.

'° In Michigan Spine, the court was determining whether the provider could sue a primary insurer that had denied
coverage because of a pre-existing condition, not on the basis of Medicare eligibility.
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Plaintiff relies on Humana to support its theory that non-MAOs and, in particular, “private
parties” generally have standing.'! [DE 39 at 7]. However, Humana only held that the private
cause of action was available to MAOs. See Humana, 832 F.3d at 1233. Even considering the
court’s dicta, Humana at most allows direct providers of medical services to bring claims.”

Therefore, based on the Court’s review of the statute and precedent, there is a two-prong
test to establish standing to bring a claim under § 1395y(B)(3)(A). First, the plaintiff must be
either: (1) a Medicare beneficiary; (2) an MAO; or a (3) direct healthcare provider to the
Medicare beneficiary. Second, the plaintiff must show: (1) that it suffered an injury-in-fact; (2) a
causal connection between the injury and the conduct complained of; and (3) that it is likely that
the injury will be redressed by a favorable decision. See, e.g., Lujan v. Defs. of Wildlife, 504
U.S. 555, 561 (1992); Humana Medical Plan, Inc., v. Western Heritage Ins. Co., 832 F.3d 1229
(11th Cir. 2016); Glover v. Liggett Group, Inc., 459 F.3d 1304 (11th Cir. 2006); Mich. Spine &
Brain Surgeons PLLC v. State Farm Mut. Auto. Ins. Co., 758 F.3d 787 (6th Cir. 2014).

In this case, because Plaintiff is the assignee of various claims, the Court must first
determine whether Plaintiff's original assignor in each representative claim is: (1) a Medicare
beneficiary; (2) an MAO; or (3) a direct healthcare provider to the Medicare beneficiary in order
to have standing under § 1395y(B)(3)(A). If not, the Plaintiff's assignors are not within the
established entities that courts have found have standing and the inquiry ends there.

A. CLAIM 1: HYGEA AND R.C,

In this claim, Hygea is Plaintiff's original assignor. Defendant contends the Third

Amended Complaint fails to allege the relationship between R.C., Hygea, and the medical

provider which treated R.C. Because this constitutes a facial attack on Hygea’s standing, it is

 

'' Plaintiff disappointingly misquotes Humana to suggest that decision supports the theory that the cause of action
was available to any “private parties.” [DE 39 at 7]. Plaintiff ignores that the Eleventh Circuit was implicitly
supporting the proposition that direct providers had standing under § 1395y(B)(3)(A). Humana, 832 F.3d at 1235.
2 To demonstrate that it has standing, Plaintiff also relies on In re Avandia, 685 F.3d 353 (3d Cir. 2012). However,
that decision, like Humana, only held that MAOs had a private right of action under the MSPA.

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only necessary to look to the Third Amended Complaint to see if Plaintiff has sufficiently
alleged whether Hygea is an MAO or was the direct healthcare provider to R.C. in this claim.
See McElmurray, 501 F. 3d at 1251 (explaining that facial attacks require the court to merely
look at the complaint and see if the plaintiff has sufficiently alleged a basis of subject matter
jurisdiction).

In the Third Amended Complaint, Plaintiff alleges that R.C. was enrolled in a Medicare
Advantage plan “managed by Hygea.” R.C.’s medical expenses were “subsequently paid by
Hygea” and Hygea was “financially responsible” for R.C. Hygea was charged $1,227.48.
Plaintiffs assignment agreement describes Hygea expansively as operating “a Health
Maintenance Organization, MSO, IPA, Medical Center, and/or is a Physician and/or otherwise . .
. provides or arranges for the provision of care, services, and/or supplies including medications,
treatments or other procedures to persons covered under [Medicare] and other third party.”

The Third Amended Complaint fails to allege facts that Hygea is either an MAO ora
direct healthcare provider to R.C. in this claim. The Third Amended Complaint simply states
Hygea managed the plan in which R.C. was enrolled and was also financially responsible for
R.C. In the Third Amended Complaint’s attached exhibits regarding R.C.’s services, Hygea is
not listed anywhere as the provider of medical services to R.C. In fact, only an urgent care
center appears as an apparent provider. [DE 46-3]. Additionally, Plaintiffs own assignment
agreement does not describe Hygea as either an MAO or the direct healthcare provider of
services to R.C. in this claim. A court may not speculate concerning the existence of standing; a
plaintiff lacks standing if the complaint merely sets forth facts from which courts could imagine

an injury. See DiMaio, 520 F.3d at 1301. Therefore, because Plaintiff has failed to allege Hygea

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is either an MAO or a direct healthcare provider to R.C. for this claim, Hygea has no standing to
bring a claim under § 1395y(B)(3)(A).”° |
B. CLAIM 2: MMM HOLDINGS AND D.G.

In this claim, MMM Holdings is Plaintiff's original assignor. In addition to the lack of
facts alleged in the Third Amended Complaint, Defendant contends that MMM Holdings is not
an MAO. Because this is a factual attack on MMM Holdings’ standing, the Court may consider
matters outside of the pleadings to determine if MMM Holdings is in fact an MAO. See
McElmurray, 501 F. 3d at 1251 (explaining that factual attacks allow the court to consider
matters outside the pleadings, such as testimony and affidavits).

In the Third Amended Complaint, Plaintiff alleges that D.G. was enrolled in a Medicare
Advantage plan “managed by” MMM Holdings. D.G.’s medical expenses were “subsequently
paid” by MMM Holdings. MMM Holdings was “charged” $1,892.84. Plaintiffs assignment
agreement broadly describes MMM Holdings as operating “a Health Maintenance Organization,
MSO, IPA, Medical Center, and/or is a Physician and/or otherwise ... provides or arranges for
the provision of care, services, and/or supplies.including medications, treatments or other
procedures to persons covered under [Medicare] and other third party.”

The Third Amended Complaint fails to allege MMM Holdings is an MAO. Plaintiff first
states MMM Holdings is an MAO based in Puerto Rico in its response to the second motion to
dismiss. [DE 39 at 6]. In resolving this factual issue, the Court reviewed the Centers for

Medicare & Medicaid Services website, which provides an updated list of MAOs."* The list was

 

* Based on the parties’ filings, Hygea seeks reimbursement for an amount charged due to the terms of its private
contract with an MAO called Wellcare. Thus, it appears Hygea was not directly injured under the MSPA but
because of its relationship with Wellcare. Its claim must instead be determined by reference to the written contract.
See Provident Care Mgmt., LLC v. Wellcare Health Plans Inc., Case No. 16-cv-61873-BB, (S.D. Fla. Feb. 1, 2018)
(“A contract provider’s claims are determined entirely by reference to the written contract, not the Medicare Act.”)
“4 Centers for Medicare & Medicaid Services, https:/Awww.cms.gov/Research-Statistics-Data-and-
Systems/Statistics-Trends-and-Reports/MCRAdvPartDEnrolData/MA-Plan-Directory-Items/MA-Plan-
Directory.htm] (last visited March 5, 2018).

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most recently updated in February 2018 and MMM Holdings is not listed. However, an entity
with a similar name “MMM Healthcare LLC” is listed. At the hearing on the motion, Plaintiff
represented that MMM Holdings is the same entity as “MMM Healthcare.” However, despite
various opportunities to defeat this factual attack, Plaintiff's Third Amended Complaint fails to
allege any facts or provide evidence to show that the two entities are one and the same. As

previously stated, the court cannot speculate concerning the existence of standing. See DiMaio,

520 F.3d at 1301. Based on the Court’s review, it is unclear what type of entity MMM Holdings

is and whether it has any relationship to this claim or Medicare. Therefore, because MMM
Holdings is not listed on the website as an MAO and the Medicare website is a source which
cannot be reasonably questioned, the Court takes judicial notice that MMM Holdings is not an
MAO and thus lacks standing under § 1395y(B)(3)(A). See Fed. R. Evid. 201.

C. CLAIM 3: HEALTH CARE ADVISOR SERVICES AND E.F.

In this claim, Health Care Advisor Services is Plaintiffs original assignor. Defendant
contends the Third Amended Complaint fails to allege the relationship between E.F., Health Care
Advisor Services, and the medical provider which treated E.F. Because this constitutes a facial
attack on Health Care Advisor Services’ standing, the Court will merely look to the pleadings to
see if Plaintiff has sufficiently alleged whether Health Care Advisor Services is an MAO or was
the direct healthcare provider to E.F. in this claim. See McElmurray, 501 F. 3d at 125.

In the Third Amended Complaint, Plaintiff alleges that E.F. was enrolled in a Medicare
Advantage plan “managed by” Health Care Advisor Services. E.F.’s medical expenses were
“subsequently charged” to Health Care Advisor Services. Health Care Advisor Services was
charged $29,883.14. Plaintiffs assignment agreement describes Health Care Advisor Services
as operating “a Health Maintenance Organization, MSO, IPA, Medical Center, and/or is a
Physician and/or otherwise ... provides or arranges for the provision of care, services, and/or

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supplies including medications, treatments or other procedures to persons covered under
[Medicare] and other third party.”

The Third Amended Complaint fails to allege Health Care Advisor Services is either an
MAO or a direct healthcare provider to E.F. in this claim. The Third Amended Complaint
simply states Health Care Advisor Services managed the plan in which E.F. was enrolled and
that E.F.’s medical expenses were charged to Health Care Advisor Services. In the attached
exhibits regarding E.F.’s medical services, Health Care Advisor Services is not listed and only
various hospitals, clinics, and doctors appear as providers. Additionally, Plaintiff's own
assignment agreement does not describe Health Care Advisor Services as either an MAO or the
direct healthcare provider of services to E.F. in this claim. Again, the Court may not speculate
regarding standing. See DiMaio, 520 F.3d at 1301. Therefore, because Plaintiff has failed to
allege Health Care Advisor Services is either an MAO or a direct healthcare provider to E.F. for
this claim, Health Care Advisor Services lacks standing to bring a claim under § 1395y(B)(3)(A).

IV. CONCLUSION

. Plaintiff has failed to allege that its original assignors have standing under §

1395y(B)(3)(A). Plaintiffs theory is that § 1395y(B)(3)(A), by virtue of providing a private
cause of action, provides standing to “all private parties.” However, courts have determined
that § 1395y(B)(3)(A) is not a qui tam statute; only Medicare beneficiaries, MAOs, and
providers that directly treated the Medicare beneficiaries have standing under § 1395y(B)(3)(A).

Despite four attempts to plead, and even after standing was challenged in the first motion
to dismiss [DE 10], Plaintiff has still failed to allege that any of its assignors are Medicare
beneficiaries, MAOs, or medical providers that directly treated the alleged Medicare
beneficiaries. In fact, the four template complaints are all-encompassing and overly broad. Each
complaint is saddled with an overabundance of conclusory statements obscuring any facts to

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support them. The Court’s role is to adjudicate the claim with which it is presented; it is not to
put a complaint in a colander, shake out the excess, and see if what remains is a potential claim
for a plaintiff. |

Therefore, because Plaintiff has failed four times to allege facts to show standing, the

Court can only assume the facts do not exist and the assignors do not have standing under §

1395y(B)(3)(A). As a result, the Court lacks subject-matter jurisdiction to hear this case. The

Court need not allow an amendment when there has been “repeated failures to cure deficiencies”

by amendments previously allowed. Corsello v. Lincare, Inc., 428 F.3d 1008, 1014 (11th Cir.
2005) (citations omitted). Therefore, because Plaintiff has failed four times to demonstrate
standing, the Court finds it is in the best interest of judicial economy to grant the motion with
prejudice. Accordingly, it is

ORDERED THAT

(1) The Motion to Dismiss [DE 38] is GRANTED WITH PREJUDICE.

(2) All pending motions are DENIED AS MOOT.

(3) This case is CLOSED. we
DONE and ORDERED in Miami, Florida, this Pasay of March, 2018.

Happisa, fe Ae,

PATRICIA A. SEITZ
UNITED STATES  oRICT JUDGE
CC: Counsel of Record

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